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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
 C.D., by and through her PARENTS and NEXT )
FRIENDS, M.D. and P.D. and M.D. and P.D. for )
themselves,                                  )
                      Plaintiffs,            )
                                             )
    v.                                       )            Civ. Action No. 15-13617-FDS
                                             )
NATICK PUBLIC SCHOOL DISTRICT,               )
and BUREAU OF SPECIAL EDUCATION              )
APPEALS,                                     )
                              Defendants.    )
__________________________________________)


                BUREAU OF SPECIAL EDUCATION APPEALS’
       OPPOSITION TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
                         RENEWED MAY 17, 2017


       The Bureau of Special Education Appeals’ (“BSEA”) joins the Natick Public Schools

District’s Opposition to Plaintiffs Motion for Summary Judgment Renewed May 15, 2017 and

incorporate herein the Natick Public Schools District’s Memorandum of Law in Support of its

Opposition (Document No. 46), as well as the Natick Public Schools District’s Statement of

Facts Pursuant to Local Rule 56.1 (Document No. 47). Plaintiffs’ renewed motion for summary

judgment should be dined and summary judgment should enter for the BSEA and Natick Public

Schools, affirming the BSEA’s decision.
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                                   Respectfully submitted,

                                   BUREAU OF SPECIAL EDUCATION APPEALS,

                                   By its attorney,

                                   MAURA HEALEY
                                   ATTORNEY GENERAL

                                    /s/ Iraida J. Álvarez
                                   Iraida J. Álvarez, BBO# 647521
                                   Assistant Attorney General
                                   Office of the Attorney General
                                   One Ashburton Place, 20th Floor
                                   Boston, MA 02108-1698
                                   (617) 963-2037
                                   Iraida.Alvarez@state.ma.us
Dated: May 30, 2017
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                               CERTIFICATE OF SERVICE

        I hereby certify that the above document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(“NEF),” and paper copies will be sent to those indicated as non-registered participants on May
30, 2017.

                                                           /s/ Iraida J. Álvarez_____________
                                                           Iraida J. Álvarez
